 Case 16-21006-CMG             Doc 102      Filed 11/17/17 Entered 11/17/17 11:20:35                   Desc Main
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   792983
   PHELAN HALLINAN DIAMOND & JONES, PC
   400 Fellowship Road, Suite 100
   Mt. Laurel, NJ 08054                                                         Order Filed on November 17, 2017
   856-813-5500                                                                              by Clerk
                                                                                     U.S. Bankruptcy Court
   Attorneys for Secured Creditor: U.S. BANK TRUST,                                   District of New Jersey
   N.A., AS TRUSTEE FOR LSF9 MASTER
   PARTICIPATION TRUST
   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(b)

   In Re:                                                           Case No: 16-21006 - CMG

   270 Berger Real Estate, LLC                                      Hearing Date: 10/03/2017

                                                                    Judge: Christine M. Gravelle




                       CONSENT ORDER RESOLVING OBJECTION TO CONFIRMATION

            The consent order set forth on the following pages, numbered two (2) through three (3) is
            hereby ORDERED.




DATED: November 17, 2017
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NJID 792983
PHELAN HALLINAN DIAMOND & JONES, PC
400 Fellowship Road, Suite 100
Mt. Laurel, NJ 08054
856-813-5500
Attorneys for U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER
PARTICIPATION TRUST

                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF NEW JERSEY
IN RE:
         270 Berger Real Estate, LLC                    CASE NO. 16-21006 - CMG

                                                        CHAPTER 11
     Debtor
                                                        CONSENT ORDER RESOLVING
                                                        OBJECTION TO CONFIRMATION

                                                        HEARING DATE: 10/03/2017

       This Consent Order pertains to the property located at 270 Berger Avenue, Oakhurst, NJ
07712, mortgage account ending with “1570”;

        THIS MATTER having been brought before the Court by Timothy P. Neumann, Esquire
attorney for Debtor, 270 Berger Real Estate, LLC upon the filing of a Chapter 11 Plan, U.S. BANK
TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER PARTICIPATION TRUST by and through its
attorneys, Phelan Hallinan Diamond & Jones, PC having filed an Objection to the Confirmation of
said Chapter 11 Plan and the parties having subsequently resolved their differences; and the Court
noting the consent of the parties to the form, substance and entry of the within Order; and for other
and good cause shown:

         IT IS ORDERED as follows:

       1.    Debtor to make adequate protection payments in the amount of $3,000, effective
7/1/2017. Debtor to remit $9,000, certified funds, within 5 days of acceptance. Failure to remit
down payment or monthly payment will be grounds for default and in rem relief.


        2.     Debtor to provide evidence of listing property for sale within 5 days of acceptance.
Debtor to be allowed 60 days to secure an acceptable offer, and 45 days to close such offer,
provided that the secured creditor’s lien is paid in full or lender will have in rem relief. Failure to
comply with timely listing property, obtaining an offer, or closing should be grounds for default
and in rem relief




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        3.     This Order shall be incorporated in and become a part of any Order Confirming Plan
in the herein matter.




The undersigned hereby consent to the form,
Content and entry of the within Order:

PHELAN HALLINAN DIAMOND & JONES, PC
Attorneys for Secured Creditor:
U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER PARTICIPATION TRUST

/s/ Sherri J. Braunstein
Sherri J. Braunstein, Esq.
Phelan Hallinan Diamond & Jones, PC
400 Fellowship Road, Suite 100
Mt. Laurel, NJ 08054
Tel: 856-813-5500 Ext. 47923
Fax: 856-813-5501
Email: sherri.Braunstein@phelanhallinan.com

                                              Dated: 11/09/2017

/s/ Timothy P. Neumann                        Dated: 11/15/2017
Timothy P. Neumann, Esquire
Attorney for Debtor




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